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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                       v.                          ) Case No. 1:21-cr-175-TJK
                                                   )
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

     DEFENDANT NORDEAN’S MOTION TO JOIN DEFENDANTS’ MOTION TO
                         TRANSFER VENUE

       The Court’s scheduling order sets a September 30, 2022 deadline for all briefing on

Defendants’ motions to change venue. ECF No. 426, p. 2.

       Defendant Tarrio filed a Motion to Change Venue. ECF No. 349. Defendant Biggs has

filed supplements to that motion. ECF No. 406. Defendant Nordean moves the Court to join

Tarrio’s motion and Biggs’ supplemental filings.

Dated: September 30, 2022                   Respectfully submitted,


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                                     Certificate of Service
       I hereby certify that on the 18th day of September, 2022, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Connor Mulroe
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
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